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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 7

    AKORN HOLDING COMPANY LLC,                                   Case No. 23-10253 (KBO)
    et al., 1
                                                                 (Jointly Administered)
                                Debtors.

NOTICE OF AGENDA FOR HEARING SCHEDULED FOR MARCH 20, 2024 AT 10:30
  AM (PREVAILING EASTERN TIME), BEFORE THE HONORABLE KAREN B.
OWENS AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
    DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 6TH FLOOR,
          COURTROOM NO. 3, WILMINGTON, DELAWARE 19801

CONTINUED MATTERS:

1.       Trustee’s Motion for Entry of Order Authorizing Transfer of Certain Contract Rights
         of the Estates to Ophtapharm AG
         [Filed 2/2/2024; Docket No. 743]

         Related Documents:           (a)    Proposed Order

         Objection Deadline:                 February 19, 2024 at 4:00 p.m.
                                             Extension granted solely to IWK Verpackungstechnik
                                             GmbH through and including March 15, 2024

         Responses Received:                 None

         Status:                             This matter is being adjourned to April 16, 2024 at 2:00
                                             p.m. ET




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 The Debtors in these chapter 7 cases, along with the last four digits of their federal tax identification numbers, and
cases numbers are Akorn Holding Company LLC (9190), Case No. 23-10253 (KBO); Akorn Intermediate Company
LLC (6123), Case No. 23-10254 (KBO); and Akorn Operating Company LLC (6184), Case No. 23-10255. The
Debtors’ headquarters is located at 5605 CenterPoint Court, Gurnee, IL 60031.


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2.     First Interim Fee Application of Saul Ewing LLP, as Special Counsel to George L.
       Miller, Chapter 7 Trustee, for Allowance of Compensation and Reimbursement of
       Expenses for the Period from October 26, 2023 Through December 31, 2023
       [Filed 2/28/2024; Docket No. 759]

       Related Documents:      (a)   Proposed Order

       Objection Deadline:           March 13, 2024 at 4:00 p.m.

       Responses Received:           None

       Status:                       This matter is being adjourned to April 16, 2024 at 2:00
                                     p.m. ET

UNCONTESTED MATTERS WITH CERTIFICATE OF NO OBJECTION:

3.     Motion to Limit Service of Notice Regarding First Interim Fee Application of Saul
       Ewing LLP, as Special Counsel to George L. Miller, Chapter 7 Trustee, for Allowance
       of Compensation and Reimbursement of Expenses for the Period From October 26,
       2023 through December 31, 2023
       [Filed 2/28/2024; Docket No. 760]

       Related Documents:      (a)   Proposed Order

                               (b)   Notice of Hearing on Motion to Limit Service of Notice
                                     Regarding First Interim Fee Application of Saul Ewing
                                     LLP, as Special Counsel to George L. Miller, Chapter 7
                                     Trustee, for Allowance of Compensation and
                                     Reimbursement of Expenses for the Period From October
                                     26, 2023 through December 31, 2023
                                     [Filed 3/4/2024; Docket No. 761]

                               (c)   Certificate of No Objection
                                     [Filed 3/14/2024; Docket No. 766]

       Objection Deadline:           March 13, 2024 at 4:00 p.m.

       Responses Received:           None

       Status:                       This matter is uncontested. Movant requests entry of the
                                     Proposed Order




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 Dated: March 18, 2024                                 COZEN O’CONNOR
 Wilmington, Delaware

                                                 By:   /s/ John T. Carroll, III
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                                                       Wilmington, DE 19801
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                                                       Counsel to George L. Miller,
                                                       Chapter 7 Trustee




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